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                                                                 Thursday, 02 May, 2019 03:56:54 PM
                                                                       Clerk, U.S. District Court, ILCD

                     UNITED STATES DISTRICT COURT
                      CENTRAL DISTRICT OF ILLINOIS
                             URBANA DIVISION
____________________________________________________________________________

JANE DOE, as Parent and Next Friend of       )
K.B., a minor,                               )
                                             )
                   Plaintiffs,               )
       v.                                    )         Case No. 18-CV-2249
                                             )
URBANA SCHOOL DISTRICT #116, Unit            )
of Local Government; SCOTT WOODS,            )
Individually and in his Official capacity as )
Principal of Urbana Middle School;           )
DONALD D. OWEN, in his Official capacity )
as Superintendent of Urbana School           )
District #116; AND THE BOARD OF              )
EDUCATION OF URBANA SCHOOL                   )
DISTRICT #116, in their Official capacities, )
                                             )
                   Defendants.               )

                                          ORDER

      On September 28, 2018, Plaintiffs, Jane Doe, as Parent and Next Friend of K.B., a

minor, filed a Complaint (#1) against Defendants Urbana School District #116, Scott

Woods, Principal of Urbana Middle School, Donald D. Owen, Superintendent of

Urbana School District #116, and the Board of Education of Urbana School District #116,

alleging, pursuant to 42 U.S.C. § 1983, that Defendants violated K.B.’s rights under the

Fourth, Fifth, Ninth, and Fourteenth Amendments to the United States Constitution.

On February 19, 2019, Defendants Urbana School District #116 and the Board of

Education of Urbana School District #116 filed a Motion to Dismiss (#6). Plaintiffs filed

a Response (#20) on April 2, 2019. For the following reasons, Defendants’ motion (#6) is

GRANTED in part and DENIED in part.
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                                    BACKGROUND

        The following background is taken from the allegations in Plaintiff’s Complaint

(#1). At this stage of the proceedings, the court must accept as true all material

allegations of the Complaint, drawing all reasonable inferences therefrom in Plaintiff’s

favor. See Lewert v. P.F. Chang’s China Bistro, Inc., 819 F.3d 963, 966 (7th Cir. 2016).

        Plaintiff K.B. is a 14-year old female residing in Urbana, Champaign County,

Illinois. She was enrolled at Urbana Middle School (UMS). Plaintiff Jane Doe is K.B.’s

mother. Defendant Scott Woods was, at all relevant times, the principal of Urbana

Middle School. Defendant Woods was responsible for the administration of discipline

and education of students at Urbana Middle School. Defendant Donald D. Owen was,

at all relevant times, the general Superintendent of Urbana School District #116.

        On September 29, 2017, K.B. was duly enrolled as a full-time regular student at

UMS. On that day, several students, including K.B., were involved in an altercation in

the first floor hallway of UMS. Defendant Woods intervened, and “picked K.B. up

bodily and threw K.B. down the hall where K.B. fell heavily onto her knees.” Woods

did not have any reasonable cause to engage K.B. in an excessive and violent physical

manner. Upon seeing that he severely injured K.B., Woods attempted to pick K.B. from

the floor and carry her to a classroom. Woods asked K.B. what happened and asked her

if she was ok. K.B. informed Woods that her knees hurt from being thrown down the

hall.




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       Neither Woods, Defendant Owen, or the Board of Education contacted Jane Doe

to inform her of what happened to K.B. during the school day. Later in the evening,

following the injury sustained at the hands of Woods, K.B.’s knee swelled up and

caused her a great deal of pain. Jane Doe transported K.B. to the emergency room at

Carle Foundation Hospital for treatment, where K.B. was diagnosed with a severe knee

sprain. K.B. was placed in a walking boot/knee brace and put on crutches. She also

received physical therapy for the rehabilitation of her knee.

       Plaintiffs’ Complaint contains six counts. Count I alleges a violation of 42 U.S.C.

§ 1983 against Defendant Woods; Count II alleges a violation of 42 U.S.C. § 1981 against

Woods; Count III alleges a 42 U.S.C. § 1983 violation against Defendant Board of

Education; Count IV alleges a violation of 42 U.S.C. § 1983 against Defendant Owen;

Count V alleges an Illinois state law battery claim against Woods; and Count VI alleges

an Illinois state law respondeat superior claim against Defendant Owen.

       For the purposes of this motion, the court is concerned with the allegations in

Counts I through III, because those counts contain factual allegations concerning the

Defendant Board’s policies and the resulting authority of the Board and Defendant

Woods in implementing those policies. Plaintiffs allege that the Board and Owen had a

“policy, procedure, or practice and custom, of failing to adequately train principals and

personnel on the appropriate and correct procedures for apprehension, contacting

parents of minors, conducting searches, avoiding profiling students on the basis of race,

and preventing violations of the rights of students.” Plaintiffs further allege that the



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Board and Owen “had a custom of tolerating or acquiescing in the failure to adequately

supervise, discipline its principals, and for failing to train its principals and personnel

on the appropriate and correct procedures for apprehension, contacting parents of

minors, avoiding profiling students on the basis of race, and preventing violations of

the rights of its students.”

       In Counts I and II of the Complaint, Plaintiffs allege that Woods exercised, “or

had been delegated authority to exercise, final policymaking authority for District 116

with respect to physical contact with students.” Later in Count I, Plaintiffs plead that

“Defendant Woods acknowledged that the Board had a policy, practice, and custom of

student seizures.” Plaintiffs allege that “the implementation of this policy, practice, and

custom was delegated to Defendant Woods[,]” and that “Defendant Woods had the

authority to not only implement, but to define the parameters and put into practice the

seizure of minor students.”

       In Count III, Plaintiffs allege that the Board had “a policy or procedure or

practice and custom of tolerating or acquiescing in its personnel inadequate

investigation, failure to adequately supervise and discipline its personnel, or failing to

train its personnel on appropriate and proper methods of student discipline,

investigation, recognition, or correct procedures for apprehension, contacting parents,

conducting seizures and inappropriate touching of students, and preventing violations

of students’ rights.” Plaintiffs allege that the failure to train Woods led to the

constitutional deprivations at issue. Plaintiffs allege that the Board should have known



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that Woods was “going to touch or search K.B. or other students illegally and allowed

Woods to proceed to implement his illegal seizure of K.B.” Plaintiffs allege that the

Board was deliberately indifferent in its promulgation of the policies that “caused,

aided, or failed to prevent the violations and deprivations” of K.B.’s rights. Plaintiffs

again alleged that “the implementation of this policy, practice, and custom was

delegated to Defendant Woods[,]” and that “Defendant Woods had the authority to not

only implement, but to define the parameters and put into practice the seizure of minor

students.”

                                         ANALYSIS

       Defendants argue that (1) Defendant Urbana School District #116 should be

dismissed from the case because it is a legal entity that cannot be sued; and (2) that

Count III should be dismissed against Defendant Board of Education for failure to state

a claim.

       Motion to Dismiss Standard

       To survive a motion to dismiss under Rule 12(b)(6), a complaint must
       “state a claim to relief that is plausible on its face.” Bell Atl. Corp. v.
       Twombly, 550 U.S. 544, 570, 127 S.Ct. 1955, 167 L.Ed.2d 929 (2007). “A claim
       has facial plausibility when the plaintiff pleads factual content that allows
       the court to draw the reasonable inference that the defendant is liable for
       the misconduct alleged.” Ashcroft v. Iqbal, 556 U.S. 662, 678, 129 S.Ct. 1937,
       173 L.Ed.2d 868 (2009). Factual allegations are accepted as true at the
       pleading stage, but “allegations in the form of legal conclusions are
       insufficient to survive a Rule 12(b)(6) motion.” McReynolds v. Merrill Lynch
       & Co., Inc., 694 F.3d 873, 885 (7th Cir.2012) (citing Iqbal, 556 U.S. at 678, 129
       S.Ct. 1937). “Threadbare recitals of the elements of a cause of action,
       supported by mere conclusory statements, do not suffice.” Iqbal, 556 U.S.
       at 678, 129 S.Ct. 1937. “Where a complaint pleads facts that are ‘merely
       consistent with’ a defendant’s liability, it ‘stops short of the line between


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       possibility and plausibility of entitlement to relief.’ ” Id. (quoting Twombly,
       550 U.S. at 557, 127 S.Ct. 1955) (internal quotation marks omitted).

Adams v. City of Indianapolis, 742 F.3d 720, 728 (7th Cir. 2014).




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       Dismissal of School District #116

       Defendants argue that Urbana School District #116 should be dismissed as a

defendant in this case because it is not a legal entity, and has no legal existence under

the laws of Illinois. Plaintiffs respond that “[w]hether Urbana School District #116 is or

is not a legal entity for the purposes of suit is a matter for the court to determine

following additional inquiry, as Defendant[s] [have] provided no proof beyond [their]

own assertion that USD #116 is a d.b.a. construct of the Board of Education.”

       Plaintiff has sued both Urbana School District #116 and the Board of Education

of Urbana School District #116. “According to Illinois law, the District is a geographical

area in which the Board operates schools.” Klean v. Board of Education of Proviso

Township School District 209, 2010 WL 3732218, at *2 (N.D. Ill. Sept. 17, 2010), citing 105

Ill. Comp. Stat. 5/1–3 and Board of Education of Bremen High School District No. 228 v.

Mitchell, 899 N.E.2d 1160, 1163 (Ill. App. Ct. 2008). “Moreover, the Illinois School Code

makes the Board, not the District, amenable to suit[,]”and “[t]hus, the Board, not the

District, is the proper defendant in this suit.” Klean, 2010 WL 3732218, at *2, citing 105

Ill. Comp. Stat. 5/10–2. Therefore, Defendant Urbana School District #116 is dismissed

as a defendant in this case. See Klean, 2010 WL 3732218, at *2; Ford v. Rockford Illinois

Public School District #205, 2017 WL 5892253, at *1 n.1 (N.D. Ill. Mar. 13, 2017).




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       Whether Count III is Sufficiently Plead

       Defendants argue that Plaintiffs cannot support a municipal liability claim

against the Board of Education because: (1) they cannot show an express policy

allowing corporal punishment; (2) they can only show one incident and thus cannot

demonstrate a widespread practice; and (3) they cannot demonstrate that Woods had

final policymaking authority. Plaintiff responds that (1) the Board delegated its final

policymaking authority to Woods and (2) the actions of Woods reflect a wholesale

failure of the Board to train and supervise its employees.

       Under the U.S. Supreme Court’s decision in Monell v. New York City Department of

Social Services, 436 U.S. 658 (1978), “there are three different ways in which a

municipality or other local governmental unit might violate § 1983: (1) through an

express policy that, when enforced, causes a constitutional deprivation; (2) through a

‘wide-spread practice’ that although not authorized by written law and express policy,

is so permanent and well-settled as to constitute a ‘custom or usage’ with the force of

law; or (3) through an allegation that the constitutional injury was caused by a person

with ‘final decision policymaking authority.’” Calhoun v. Ramsey, 408 F.3d 375, 379 (7th

Cir. 2005).

       First, Plaintiffs do not respond to Defendants’ argument that no express policy

was alleged. The court, having read the Complaint, also does not find that any express

policy was alleged. Rather, Plaintiffs focus their claim on a “a ‘wide-spread practice’

that although not authorized by written law and express policy, is so permanent and


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well-settled as to constitute a ‘custom or usage’ with the force of law.” See Calhoun, 408

F.3d at 379. Specifically, Plaintiffs allege that the Board’s deliberate indifference in

failing to properly train school employees and administrators, such as Defendant

Woods, on how to properly seize students during altercations, predictably lead to the

creation of a dangerous situation that led to the violation of K.B.’s rights.

       In limited circumstances, a municipality may be held liable under § 1983

for constitutional violations resulting from a failure to properly train its employees. See

Sallenger v. City of Springfield, Ill., 630 F.3d 499, 504 (7th Cir. 2010). “To hold defendants

liable under § 1983 and Monell, [a plaintiff] must demonstrate that the defendants’

‘official policy, widespread custom, or action by an official with policy-making

authority was the ‘moving force’ behind his constitutional injury.’” Daniel v. Cook

County, 833 F.3d 728, 734 (7th Cir. 2016). To demonstrate that the municipality is liable

for a harmful custom or practice, the plaintiff must show that the policymakers were

“deliberately indifferent as to [the] known or obvious consequences.” Thomas v. Cook

County Sheriff’s Department, 604 F.3d 293, 303 (7th Cir. 2010).

       Defendants first argue that Plaintiffs have not stated a claim under this second

Monell prong because they only allege, in a conclusory fashion, the existence of an

unwritten, widespread custom of failure to train based on a single incident, which does

not evince a policy, but rather evinces only a “random event.” The Seventh Circuit has

held that “there is no clear consensus as to how frequently such conduct must occur to

impose Monell liability, ‘except that it must be more than one instance,’ [citation


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omitted], or even three.” Thomas, 604 F.3d at 303. However, a single incident can be

enough for liability where a constitutional violation was “highly foreseeable.” Miranda

v. County of Lake, 900 F.3d 335, 344 (7th Cir. 2018).

       In their Response to Defendants’ Motion to Dismiss, Plaintiffs argue only that the

actions of Woods “reflect[s] a wholesale failure of the Board to train or supervise.”

Plaintiff has only plead the one instance. However, Plaintiffs did plead that “the Board,

knowing the inadequacy of the custom or practice and failing to train school personnel,

should have personally participated to provide direction to school personnel or knew, or

should have known that Woods was going to touch or search K.B. or other students

illegally and allowed Woods to proceed to implement his illegal seizure of K.B.”

(Emphasis added). This could be construed as Plaintiffs pleading that Woods’s actions

resulting in a violation of K.B.’s constitutional rights was highly foreseeable based on

the Board’s failure to properly train its employees on how to properly and safely seize

students involved in an altercation. See Miranda, 900 F.3d at 344. While this is a close

case, the court will, at this stage in the proceedings and mindful of the standard for

evaluating Rule 12(b)(6) motions to dismiss, err on the side of caution and find that

Plaintiffs have sufficiently plead a Monell claim based on one incident involving a

failure to train. The court will remind Plaintiffs, however, that at summary judgment,

they may not rely on the allegations contained in their pleadings, but rather must

present definite, competent evidence in rebuttal. See Butts v. Aurora Health Care, Inc.,

387 F.3d 921, 924 (7th Cir. 2004). Defendants may reraise their arguments at a later


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stage in the litigation, where the record can be more fully developed “and when the

applicable procedural rules permit a more fulsome and searching analysis.” See Access

4 All, Inc. v. Chicago Grande, Inc., 2007 WL 1438167, at *1 (N.D. Ill. May 10, 2007). Thus,

the motion is denied with regard to this claim.

       Plaintiffs also claim, under the third Monell prong, that Defendant Woods was a

person with “final decision policymaking authority.” Defendants argue that principals

are not final policymakers for school districts under Illinois state law. Defendants are

correct in this regard. Under Illinois law, only the Board of Education has final

policymaking authority, and just because school administrators might have “the

authority to institute corrective measures” on the school district’s behalf does not make

them final policymakers. Doe 20 v. Board of Education of Community Unit School District

No. 5, 680 F.Supp.2d 957, 979 (C.D. Ill. 2010), citing Duda v. Board of Education of Franklin

Park Public School District No. 84, 133 F.3d 1054, 1061 (7th Cir. 1998); see also Jaythan v.

Board of Education of Sykuta Elementary School, 219 F.Supp.3d 840, 846-47 (N.D. Ill. 2016).

However, it would be possible for a school administrator to be considered a final

policymaker if the policymaking body, such as the Board of Education, in some way

delegated its policymaking authority to that administrator. See Cornfield v. Consolidated

High School District No. 230, 991 F.2d 1316, 1325-26 (7th Cir. 1993).

       Here, Plaintiffs claim that Woods exercised, “or had been delegated authority to

exercise, final policymaking authority for District 116 with respect to physical contact

with students.” This claim, while a completely conclusory statement, at least makes the


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allegation that final policymaking authority had been delegated to Woods by the Board.

However, later in Count I, Plaintiffs plead that “Defendant Woods acknowledged that

the Board had a policy, practice, and custom of student seizures.” Plaintiffs allege that

“the implementation of this policy, practice, and custom was delegated to Defendant

Woods[,]” and that “Defendant Woods had the authority to not only implement, but to

define the parameters and put into practice the seizure of minor students.” Plaintiffs

have essentially plead themselves out of a claim that Woods had final policymaking

authority. The allegations in the Complaint state, specifically, that Woods had been

delegated the authority to “implement” the Board’s policy, define the policy’s

“parameters,” and to put the policy “into practice.” These allegations concerning

Woods’s power suggest that he had the authority to make decisions and implement

policy, not the authority to actually make policies. Such allegations do not suffice to

allege that Woods had final policymaking authority under the delegation theory

because they fail to suggest that he had the ability to make policies for the school

district or even UMS. See Jaythan, 219 F.Supp.3d at 847. This is borne out even in

Plaintiffs’ Response, where, at page 3, they argue:

       In this case, the battery perpetrated was by the principal of a school, an
       employee of the Board. This sufficiently places that defendant under the
       control of the Board and the superintendent and for that reason
       Defendant’s citations of authority are simply not compelling. With the
       aggressive nature of the principal’s actions, it would be a fair inference
       that it was an approved practice of the Board to permit its staff to engage
       students in a physical manner, despite what may have been written in any manual.




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       This response appears to argue that the Board delegated its authority by virtue of

Defendant Woods being an employee of the Board, which is clearly contrary to the case

law. The motion to dismiss is granted as to this aspect of Plaintiffs’ Monell claim.

       IT IS THEREFORE ORDERED:

       (1)    Defendants’ Motion to Dismiss (#7) is GRANTED in part and DENIED in

              part. It is granted as to Defendant Urbana School District #116, who is

              hereby dismissed from the case and terminated as a defendant. It is

              granted as to the claim that Woods was a final policymaker, but is denied

              as to the failure to train claim.

       (2)    This case is referred to the magistrate judge for further proceedings in

              accordance with this order.



              ENTERED this 2nd day of May, 2019.



                                    s/ COLIN S. BRUCE
                                   U.S. DISTRICT JUDGE




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